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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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12    TERRIE PRITCHETT, an individual,        Case No.: 2:21-cv-02746-RGK-JEM
13               Plaintiff,                   Hon. R. Gary Klausner
14        v.
15                                            [PROPOSED] ORDER FOR DISMISSAL
      KIET CHI HONG, an individual;           WITH PREJUDICE
      CATHERINE MARIE HONG, an
16    individual; and DOES 1-10,
17                                            Action Filed: March 30, 2021
                 Defendants.                  Trial Date: Not on Calendar
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                      [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
     Case 2:21-cv-02746-RGK-JEM Document 25 Filed 10/19/21 Page 2 of 2 Page ID #:91



 1          Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2    it, and being fully advised finds as follows:
 3          IT IS ORDERED THAT:
 4          Plaintiff Terrie Pritchett’s action against Defendants Kiet Chi Hong and Catherine
 5    Marie Hong is dismissed with prejudice. Each party will be responsible for its own fees
 6    and costs.
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      Dated: October 19, 2021
12                                                       Hon. R. Gary Klausner
                                                         United States District Judge
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                        [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
